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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

DOWNTOWN MUSIC PUBLISHING LLC, OLE
MEDIA MANAGEMENT, L.P., BIG DEAL
MUSIC, LLC, CYPMP, LLC, PEER
INTERNATIONAL CORPORATION, PSO
LIMITED, PEERMUSIC LTD., PEERMUSIC III,
LTD., PEERTUNES, LTD., SONGS OF PEER
LTD., RESERVOIR MEDIA MANAGEMENT,
INC., THE RICHMOND ORGANIZATION,
INC., DEVON MUSIC, INC., ESSEX MUSIC,
INC., ESSEX MUSIC INTERNATIONAL, INC.,
FOLKWAYS MUSIC PUBLISHERS, INC.,
HAMPSHIRE HOUSE PUBLISHING CORP.,
HOLLIS MUSIC, INC., LUDLOW MUSIC, INC.,
MELODY TRAILS, INC., MUSICAL COMEDY
PRODUCTIONS, INC., PALM VALLEY
MUSIC, LLC, WORDS & MUSIC, INC.,
ROUND HILL MUSIC LLC, ROUND HILL
MUSIC LP, THE ROYALTY NETWORK, INC.,
and ULTRA INTERNATIONAL MUSIC
PUBLISHING, LLC,                              No. 1:19-cv-02426-DLC

            Plaintiffs and Counterclaim
            Defendants, and
GREENSLEEVES PUBLISHING LIMITED, ME
GUSTA MUSIC, LLC, STB MUSIC, INC., and
TUNECORE, INC.,
            Plaintiffs, and
NATIONAL MUSIC PUBLISHERS’
ASSOCIATION, INC.,

            Counterclaim Defendant.
           v.
PELOTON INTERACTIVE, INC.
           Defendant and Counterclaim
           Plaintiff.

   ANSWER TO SECOND AMENDED COMPLAINT AND COUNTERCLAIMS
    AGAINST NATIONAL MUSIC PUBLISHERS’ ASSOCIATION, INC. AND
                     PLAINTIFF PUBLISHERS


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                                            ANSWER

       Defendant Peloton Interactive, Inc. hereby answers the Second Amended Complaint filed

by Plaintiffs Downtown Music Publishing LLC, Anthem Entertainment L.P. (f/k/a ole Media

Management, L.P.), Big Deal Music, LLC, CYPMP LLC d/b/a Pulse Music Group, Peer

International Corporation, PSO Limited, Peermusic Ltd., Peermusic III, Ltd., Peertunes, Ltd.,

Songs of Peer, Ltd. (collectively, “Peer”), Greensleeves Publishing Limited, Me Gusta Music,

LLC, Reservoir Media Management, Inc., The Richmond Organization, Inc., Devon Music, Inc.,

Essex Music, Inc., Essex Music International, Inc., Folkways Music Publishers, Inc., Hampshire

House Publishing Corp., Hollis Music, Inc., Ludlow Music, Inc., Melody Trails, Inc., Musical

Comedy Productions, Inc., Palm Valley Music, LLC, Words & Music, Inc. (collectively, “TRO”),

Round Hill Music LLC, Round Hill Music LP (collectively, “Round Hill”), The Royalty Network,

Inc., STB Music, Inc., TuneCore, Inc., and Ultra International Music Publishing, LLC.

                                          General Denial

       Except as otherwise expressly admitted herein, Peloton denies each and every allegation

set forth in the Complaint, including, without limitation, any allegations set forth in the preamble,

headings and subheadings of the Complaint. Pursuant to Rule 8 of the Federal Rules of Civil

Procedure, allegations in the Complaint to which no responsive pleading is required, including

legal arguments and legal conclusions, shall be deemed as denied. Peloton expressly reserves the

right to seek to amend and/or supplement its Answer as may be necessary, including the right to

assert and rely upon any additional defenses as may be discovered.

                                Response to Specific Allegations

       Incorporating the foregoing, Peloton states as follows in response to the specific allegations

in the Complaint:




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                                      Nature of the Action

       1.      Peloton admits that Plaintiffs have filed the current action and purport to seek more

than $300,000,000 in damages from Peloton. Peloton further admits that it has entered into license

agreements with many copyright holders. Peloton denies that it “used more than 2,000 musical

works owned or administered by Plaintiffs over a period of years in the videos that it makes

available to its hundreds of thousands of customers without a synchronization (or “sync”) license

for a single one of those songs.” Peloton further denies that it is continuing to violate copyright

laws by creating new workout videos containing works owned or administered by Plaintiffs. The

remaining allegations in Paragraph 1, including Plaintiffs’ characterizations of Peloton’s conduct

as “a textbook willful infringer,” “knowing and reckless,” and “trampling the rights of Plaintiffs,”

as well as Plaintiffs’ characterizations of copyright law, are nonfactual legal arguments or

conclusions of law to which no response is required. To the extent a response is deemed required,

Peloton denies the remaining allegations in Paragraph 1.

       2.      Peloton admits that Plaintiffs have identified three musical works in Paragraph 2

that they claim to own or control, in whole or part. Peloton lacks sufficient knowledge or

information to admit or deny any allegations in Paragraph 2 concerning the extent of Plaintiffs’

ownership of or control in certain musical works. The remaining allegations in Paragraph 2,

including Plaintiffs’ characterization of Peloton’s conduct as “unlawful infringement,” are

nonfactual legal arguments or conclusions of law to which no response is required. To the extent

a response is deemed required, Peloton denies the remaining allegations in Paragraph 2.

       3.      The substance of Plaintiffs’ description of the Peloton service is admitted.

Plaintiffs’ characterization of the level of success of Peloton as a company is a nonfactual

statement to which no response is required.




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       4.      Peloton admits that it publishes playlists for some archived class videos and that it

classifies some videos based on the specific music genres. Peloton denies that all Peloton videos

“contain music from start to finish.” The remaining allegations in Paragraph 4 are nonfactual legal

arguments to which no response is required. To the extent a response is deemed required, Peloton

denies the remaining allegations in Paragraph 4.

       5.      Peloton admits that it issued a press release on June 27, 2018 containing the

language quoted in Paragraph 5. Peloton further admits that there have been press reports to the

effect that Peloton has been valued close to $8 billion. Peloton specifically denies that it

“deliberately decided to use Plaintiffs’ musical works without any regard for the rights of

thousands of songwriters and creators.” The remaining allegations in Paragraph 5 are nonfactual

legal arguments to which no response is required. To the extent a response is deemed required,

Peloton denies the remaining allegations in Paragraph 5.

       6.      Peloton admits that it has sought and obtained licenses from owners of copyrighted

works included in Peloton workout classes. Peloton admits that it does not currently have catalog-

wide synchronization license agreements with any of the Plaintiffs, but it avers that it has limited-

use license agreements with some of the Plaintiffs. Peloton lacks sufficient knowledge or

information to admit or deny any allegations in Paragraph 6 concerning the extent of Plaintiffs’

ownership, control, or copyright interest in certain musical compositions and on that basis denies

them. The remaining allegations in Paragraph 6 are nonfactual legal arguments and legal

conclusions to which no response is required. To the extent a response is deemed required, Peloton

denies the remaining allegations in Paragraph 6.




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       7.      The allegations in Paragraph 7 are nonfactual legal arguments to which no response

is required. To the extent a response is deemed required, Peloton denies the allegations in

Paragraph 7.

                                            The Parties

       8.      Peloton admits that it does not currently have in place licensing agreements with

any of the Plaintiffs granting catalog-wide synchronization rights to Peloton, but it avers that it has

limited-use license agreements with some of the Plaintiffs. Peloton lacks sufficient knowledge or

information to admit or deny the remaining allegations in Paragraph 8 and therefore denies them.

       9.      Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 9 and therefore denies them.

       10.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 10 and therefore denies them.

       11.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 11 and therefore denies them.

       12.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 12 and therefore denies them.

       13.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 13 and therefore denies them.

       14.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 14 and therefore denies them.

       15.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 15 and therefore denies them.




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       16.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 16 and therefore denies them.

       17.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 17 and therefore denies them.

       18.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 18 and therefore denies them.

       19.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 19 and therefore denies them.

       20.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 20 and therefore denies them.

       21.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 21 and therefore denies them.

       22.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 22 and therefore denies them.

       23.     Peloton admits that it is a corporation organized under the laws of Delaware and

that its principal place of business is located in New York, NY. Peloton also admits that it sells

stationary fitness bikes and treadmills and streams workout videos that contain music to its

subscriber members. Peloton denies the remaining allegations and characterizations in Paragraph

23.

                                     Jurisdiction and Venue

       24.     Paragraph 24 contains only conclusions of law to which no response is required.

       25.     Peloton admits, for purposes of this action, that it has conducted business activities

within the State of New York and within the District. Peloton also admits, for purposes of this




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action, that its principal place of business is within the District. The remaining allegations in

Paragraph 25 are nonfactual legal arguments to which no response is required.

       26.     Peloton admits, for purposes of this action, that its principal place of business is

within the District. The remaining allegations in Paragraph 26 are nonfactual legal arguments and

legal conclusions to which no response is required.

                                             The Facts

Subheading: “Plaintiffs’ Exclusive Synchronization Rights”

Response to Subheading: Peloton lacks sufficient knowledge or information to admit or deny the

allegations in this subheading, including that Plaintiffs are “exclusive” owners of synchronization

rights in the works at issue, and therefore denies them.

       27.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 27 and therefore denies them.

       28.     Paragraph 28 contains only conclusions of law to which no response is required.

       29.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 29 and therefore denies them.

       30.     Peloton lacks sufficient knowledge or information to admit or deny allegations in

Paragraph 30 concerning Plaintiffs’ ownership, control, or copyright interest in certain musical

compositions and on that basis denies them. Peloton also lacks sufficient knowledge or information

to admit or deny allegations regarding the extent to which the works at issue are “written by more

than one songwriter, each of whom may be affiliated with a separate music publisher,” and on that

basis denies them. The remaining allegations in Paragraph 30 are nonfactual legal arguments and

conclusions of law to which no response is required. To the extent a response is deemed required,

Peloton denies the remaining allegations in Paragraph 30.




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       31.     Paragraph 31 contains only legal arguments and conclusions of law to which no

response is required.

Subheading: “Plaintiffs’ Copyrighted Musical Works”

Response to Subheading: Peloton lacks sufficient knowledge or information to admit or deny the

allegations in this subheading, including whether Plaintiffs own or control rights in the musical

works described in this section of the Complaint, and therefore denies them.

       32.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 32 and therefore denies them.

       33.     Peloton admits that Plaintiff Downtown has identified in Paragraph 32 what it

claims to be a list of musical works owned or controlled by it, in whole or part, and that Peloton

has not entered into a catalog-wide synchronization license agreement with Plaintiff Downtown.

Peloton lacks sufficient knowledge or information to admit or deny any of the remaining

allegations in Paragraph 33, and, on that basis, denies them.

       34.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 34 and therefore denies them.

       35.     Peloton admits that Plaintiff Anthem has identified in Paragraph 34 what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Anthem. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 35, and, on that basis, denies them.

       36.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 36 and therefore denies them.




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       37.     Peloton admits that Plaintiff Big Deal has identified in Paragraph 36 what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Big Deal. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 37, and, on that basis, denies them.

       38.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 38 and therefore denies them.

       39.     Peloton admits that Plaintiff Peer has identified in Paragraph 38 what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Peer. Peloton lacks

sufficient knowledge or information to admit or deny any of the remaining allegations in Paragraph

39, and, on that basis, denies them.

       40.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 40 and therefore denies them.

       41.     Peloton admits that Plaintiff Pulse has identified in Paragraph 40 what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Pulse. Peloton lacks

sufficient knowledge or information to admit or deny any of the remaining allegations in Paragraph

41, and, on that basis, denies them.

       42.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 42 and therefore denies them.

       43.     Peloton admits that Plaintiff Greensleeves has identified in Paragraph 42 what it

claims to be a list of musical works owned or controlled by it, in whole or part, and that Peloton




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has not entered into a catalog-wide synchronization license agreement with Plaintiff Greensleeves.

Peloton lacks sufficient knowledge or information to admit or deny any of the remaining

allegations in Paragraph 43, and, on that basis, denies them.

       44.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 44 and therefore denies them.

       45.     Peloton admits that Plaintiff Me Gusta has identified in Paragraph 44 what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Me Gusta. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 45, and, on that basis, denies them.

       46.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 46 and therefore denies them.

       47.     Peloton admits that Plaintiff Reservoir has identified in Paragraph 46 what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Reservoir. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 47, and, on that basis, denies them.

       48.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 48 and therefore denies them.

       49.     Peloton admits that Plaintiff TRO has identified in Paragraph 48 what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff TRO. Peloton lacks




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sufficient knowledge or information to admit or deny any of the remaining allegations in Paragraph

49, and, on that basis, denies them.

       50.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 50 and therefore denies them.

       51.     Peloton admits that Plaintiff Round Hill has identified in Paragraph 50 what it

claims to be a list of musical works owned or controlled by it, in whole or part, and that Peloton

has not entered into a catalog-wide synchronization license agreement with Plaintiff Round Hill.

Peloton lacks sufficient knowledge or information to admit or deny any of the remaining

allegations in Paragraph 51, and, on that basis, denies them.

       52.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 52 and therefore denies them.

       53.     Peloton admits that Plaintiff Royalty has identified in Paragraph 52 what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Royalty. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 53, and, on that basis, denies them.

       54.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 54 and therefore denies them.

       55.     Peloton admits that Plaintiff STB has identified in Paragraph 54 what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff STB. Peloton lacks

sufficient knowledge or information to admit or deny any of the remaining allegations in Paragraph

55, and, on that basis, denies them.




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       56.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 56 and therefore denies them.

       57.     Peloton admits that Plaintiff TuneCore has identified in Paragraph 56 what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff TuneCore. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 57, and, on that basis, denies them.

       58.     Peloton lacks sufficient knowledge or information to admit or deny the allegations

in Paragraph 58 and therefore denies them.

       59.     Peloton admits that Plaintiff Ultra has identified in Paragraph 58 what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has entered

into a catalog-wide synchronization license agreement with Plaintiff Ultra that has since expired.

Peloton lacks sufficient knowledge or information to admit or deny any of the remaining

allegations in Paragraph 59, and, on that basis, denies them.

       60.     Peloton admits that Plaintiffs have set forth on Exhibit A what they claim to be a

list of musical works owned or controlled by them, in whole or part. Peloton lacks sufficient

knowledge or information to admit or deny the allegations: about what “Plaintiffs [claim to] have

identified” in respect of certain videos that Peloton has made or currently makes available; that

Plaintiffs’ “own or control (in entirety or in part)” the compositions listed on Exhibit A; and that

the compositions listed on Exhibit A have been registered with the U.S. Copyright Office; and on

that basis Peloton denies such allegations. The remaining allegations in Paragraph 60 are

nonfactual legal arguments to which no response is required. To the extent a response is required,

Peloton denies the remaining allegations in Paragraph 60.




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       61.     Peloton admits that Plaintiff Downtown has set forth on Exhibit A what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Downtown. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 61, and, on that basis, denies them.

       62.     Peloton admits that Plaintiff Anthem has set forth on Exhibit A what it claims to be

a list of musical works owned or controlled by it, in whole or part, and that Peloton has not entered

into a catalog-wide synchronization license agreement with Plaintiff Anthem. Peloton lacks

sufficient knowledge or information to admit or deny any of the remaining allegations in Paragraph

62, and, on that basis, denies them.

       63.     Peloton admits that Plaintiff Big Deal has set forth on Exhibit A what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Big Deal. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 63, and, on that basis, denies them.

       64.     Peloton admits that Plaintiff Peer has set forth on Exhibit A what it claims to be a

list of musical works owned or controlled by it, in whole or part, and that Peloton has not entered

into a catalog-wide synchronization license agreement with Plaintiff Peer. Peloton lacks sufficient

knowledge or information to admit or deny any of the remaining allegations in Paragraph 64, and,

on that basis, denies them.

       65.     Peloton admits that Plaintiff Pulse has set forth on Exhibit A what it claims to be a

list of musical works owned or controlled by it, in whole or part, and that Peloton has not entered

into a catalog-wide synchronization license agreement with Plaintiff Pulse. Peloton lacks sufficient




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knowledge or information to admit or deny any of the remaining allegations in Paragraph 65, and,

on that basis, denies them.

       66.     Peloton admits that Plaintiff Greensleeves has set forth on Exhibit A what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Greensleeves. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 66, and, on that basis, denies them.

       67.     Peloton admits that Plaintiff Me Gusta has set forth on Exhibit A what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Me Gusta. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 67, and, on that basis, denies them.

       68.     Peloton admits that Plaintiff Reservoir has set forth on Exhibit A what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Reservoir. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 68, and, on that basis, denies them.

       69.     Peloton admits that Plaintiff TRO has set forth on Exhibit A what it claims to be a

list of musical works owned or controlled by it, in whole or part, and that Peloton has not entered

into a catalog-wide synchronization license agreement with Plaintiff TRO. Peloton lacks sufficient

knowledge or information to admit or deny any of the remaining allegations in Paragraph 69, and,

on that basis, denies them.




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       70.     Peloton admits that Plaintiff Round Hill has set forth on Exhibit A what it claims

to be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff Round Hill. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 70, and, on that basis, denies them.

       71.     Peloton admits that Plaintiff Royalty has set forth on Exhibit A what it claims to be

a list of musical works owned or controlled by it, in whole or part, and that Peloton has not entered

into a catalog-wide synchronization license agreement with Plaintiff Royalty. Peloton lacks

sufficient knowledge or information to admit or deny any of the remaining allegations in Paragraph

71, and, on that basis, denies them.

       72.     Peloton admits that Plaintiff STB has set forth on Exhibit A what it claims to be a

list of musical works owned or controlled by it, in whole or part, and that Peloton has not entered

into a catalog-wide synchronization license agreement with Plaintiff STB. Peloton lacks sufficient

knowledge or information to admit or deny any of the remaining allegations in Paragraph 72, and,

on that basis, denies them.

       73.     Peloton admits that Plaintiff TuneCore has set forth on Exhibit A what it claims to

be a list of musical works owned or controlled by it, in whole or part, and that Peloton has not

entered into a catalog-wide synchronization license agreement with Plaintiff TuneCore. Peloton

lacks sufficient knowledge or information to admit or deny any of the remaining allegations in

Paragraph 73, and, on that basis, denies them.

       74.     Peloton admits that Plaintiff Ultra has set forth on Exhibit A what it claims to be a

list of musical works owned or controlled by it, in whole or part, and that Peloton has entered into

a catalog-wide synchronization license agreement with Plaintiff Ultra that has since expired.




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Peloton lacks sufficient knowledge or information to admit or deny any of the remaining

allegations in Paragraph 74, and, on that basis, denies them.

       75.     Peloton admits that the three musical works identified in Paragraph 75 have been

used in Peloton workout videos at times since 2017, and that Peloton has not entered into catalog-

wide synchronization license agreements with any of the Plaintiffs (except for Plaintiff Ultra,

which license has expired). Peloton lacks sufficient knowledge or information to admit or deny

any allegations in Paragraph 75 concerning the extent of Plaintiffs’ ownership or control of certain

musical compositions and on that basis denies them. The remaining allegations in Paragraph 75

are nonfactual legal arguments to which no response is required. To the extent a response is

required, Peloton denies the remaining allegations in Paragraph 75.

Subheading: “Peloton Builds a Highly Successful Business by Infringing Plaintiffs’

Copyrights”

Response to Subheading: This subheading contains only legal arguments to which no response

is required.

       76.     Peloton admits: that it was founded in 2012; that it has sought to develop a

profitable business involving an in-studio cycling experience that consumers could use in their

own homes when they wished to do so; that it offers, provides and/or sells equipment and

streaming workout videos for at-home stationary bike and treadmill fitness; and that it has

expanded its offerings to include yoga, strength and other exercise classes available live and via

streaming video. Peloton lacks sufficient knowledge or information to admit or deny the remaining

characterizations/allegations in Paragraph 76 and therefore denies them.

       77.     Admitted.




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       78.      Peloton denies the accuracy of the description of the Peloton service offering,

except that it admits that Peloton subscribers receive access to thousands of recorded videos with

their monthly subscription which they can enjoy in the comfort of their own home, and that in

addition to the $39 monthly subscription service for the Peloton Bike, Peloton offers a mix of

cycling, running, bootcamp, yoga, strength and outdoor workouts through Peloton Digital for

$19.49 per month.

       79.      Peloton admits that its Form S-1, as filed with the U.S. Securities and Exchange

Commission, and a previously-issued press release contain the language quoted in Paragraph 79.

The remaining allegations in Paragraph 79 are nonfactual legal arguments to which no response is

required. To the extent a response is deemed required, Peloton denies the remaining allegations in

Paragraph 79.

       80.      Peloton admits that it has entered into licenses inclusive of synchronization rights

with many owners of musical works other than the Plaintiffs. Peloton admits that it has not entered

into catalog-wide license agreements with any Plaintiffs other than Ultra, but it avers that it has

limited-use license agreements with some of the Plaintiffs. Peloton lacks sufficient knowledge or

information to admit or deny any allegations in Paragraph 80 concerning the extent of Plaintiffs’

ownership, control, or copyright interest in certain musical compositions and on that basis denies

them. The remaining allegations in Paragraph 80 are nonfactual legal arguments to which no

response is required. To the extent a response is deemed required, Peloton denies the remaining

allegations in Paragraph 80 (including specifically the allegation that Peloton has willfully

infringed Plaintiffs’ copyrights).

       81.      Peloton denies the accuracy of the description of Peloton’s subscriber numbers.

Peloton admits Plaintiffs’ allegations in Paragraph 81 relating to individuals with a Peloton




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account, and revenue growth, that Peloton has built a successful business and that there have been

press reports to the effect that Peloton has been valued close to $8 billion. Peloton denies the

accuracy of Plaintiffs’ allegations concerning the percentage of Peloton’s total revenue that is used

to pay rightsholders. The remaining allegations in Paragraph 81 are nonfactual legal arguments to

which no response is required. To the extent a response is deemed required, Peloton denies the

remaining allegations in Paragraph 81.

Subheading: “Plaintiffs’ Discovery of Peloton’s Infringing Conduct”

Response to Subheading: This subheading contains only a legal conclusion to which no response

is required.

       82.     Peloton denies the accuracy of the description of the Peloton service offering,

except it admits that a Peloton subscription is needed to access Peloton’s videos. Peloton lacks

sufficient knowledge or information to admit or deny any allegations in Paragraph 82 concerning

the extent of Plaintiffs’ ownership of or control in certain musical works. The remaining

allegations in Paragraph 82, including Plaintiffs’ characterization of Peloton’s conduct as having

“effectively concealed” claimed “mass copyright infringement,” are nonfactual legal arguments or

conclusions of law to which no response is required. To the extent a response is deemed required,

Peloton denies the remaining allegations in Paragraph 82.

Subheading: “Plaintiffs’ Injury”

Response to Subheading: This subheading contains only a legal conclusion to which no response

is required.

       83.      Peloton lacks sufficient knowledge or information to admit or deny any allegations

in Paragraph 83 concerning the extent of Plaintiffs’ ownership, control, or copyright interest in

certain musical compositions and on that basis denies them. The remaining allegations in




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Paragraph 83 are nonfactual legal arguments and conclusions of law to which no response is

required. To the extent a response is deemed required, Peloton denies the remaining allegations in

Paragraph 83.

                                       Claim for Relief
                                   (Copyright Infringement)

       84.      Peloton restates and incorporates by reference its responses to all allegations in

Paragraphs 1 through 83.

       85.      Peloton lacks sufficient knowledge or information to admit or deny the allegation

that Plaintiffs own or control the compositions listed on Exhibit A and the allegation that the

compositions listed on Exhibit A have been registered with the U.S. Copyright Office, and, on that

basis, Peloton denies such allegations. The remaining allegations in Paragraph 85 are nonfactual

legal arguments to which no response is required. To the extent a response is required, Peloton

denies the remaining allegations in Paragraph 85.

       86.      Paragraph 86 contains only legal arguments and conclusions of law to which no

response is required. To the extent a response is required, Peloton denies the allegations in

Paragraph 86.

       87.      Peloton lacks sufficient knowledge or information to admit or deny that Plaintiffs

have exclusive rights in the compositions. Paragraph 87 otherwise contains only legal arguments

and conclusions of law to which no response is required. To the extent an additional response is

required, Peloton denies the allegations in Paragraph 87.

       88.      Paragraph 88 contains only legal arguments and conclusions of law to which no

response is required. To the extent a response is required, Peloton denies the allegations in

Paragraph 88.




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       89.      Paragraph 89 contains only legal arguments and conclusions of law to which no

response is required. To the extent a response is required, Peloton denies the allegations in

Paragraph 89.

       90.      Paragraph 90 contains only legal arguments and conclusions of law to which no

response is required. To the extent a response is required, Peloton denies the allegations in

Paragraph 90.

                                  Answer to Prayer for Relief

       Peloton denies that Plaintiffs are entitled to relief against Peloton, and requests that the

Court dismiss all claims against Peloton with prejudice and order such further relief as the Court

deems just and proper.

                                   Answer to Jury Demand

       Peloton admits that Plaintiffs purport to demand a jury trial, while reserving all rights in

connection therewith.

                                Peloton’s Affirmative Defenses

       Peloton sets forth below its affirmative defenses. By setting forth these affirmative

defenses, Peloton does not assume the burden of proving any fact, issue or element of a claim

where such burden properly belongs to Plaintiffs. In support of its affirmative defenses, Peloton

hereby incorporates by reference all factual allegations set out elsewhere in this document,

including all allegations contained in Peloton’s counterclaims. As separate affirmative defenses,

Peloton alleges as follows:




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                                   First Affirmative Defense
                          (Lack of Ownership and Failure to Register)

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to assert

the claims alleged in this action, for reasons including lack of ownership and lack of proper

registration.

                                   Second Affirmative Defense
                              (Estoppel, Acquiescence, and Waiver)

        Plaintiffs’ claims are barred, in whole or in part, by the doctrines of estoppel, acquiescence

and/or waiver.

                                    Third Affirmative Defense
                                        (Unclean Hands)

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unclean hands.

                                    Fourth Affirmative Defense
                                       (Copyright Misuse)

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of copyright misuse.

                                     Fifth Affirmative Defense
                                      (Statute of Limitations)

        Plaintiffs’ claims are barred, in whole or part, by the applicable statute of limitations.

                                     Sixth Affirmative Defense
                                             (License)

        Plaintiffs’ claims are barred, in whole or in part, because the uses of the musical

compositions at issue were licensed or authorized pursuant to an implied license.

                                   Seventh Affirmative Defense
                                  (Failure to Mitigate Damages)

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to mitigate their

alleged damages.




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           COUNTERCLAIMS AGAINST NMPA AND PLAINTIFF PUBLISHERS

               Peloton is not the bad actor that Plaintiffs portray it to be. Peloton values the

musical element of its service offering and respects—and pays—the music rightsholders

associated with that offering. It has sought and obtained licenses from all the “major” record labels

and many independent labels. It has also sought and obtained licenses from, and is paying, all the

“major” publishers, many independent publishers, and the performing rights organizations

representing all the songwriters and publishers whose music Peloton streams.

               In fact, Peloton has invested heavily in creating the infrastructure and systems to

facilitate appropriate licensing for its service offering, which presented a novel use case to the

music industry. A pioneering component of the service developed by Peloton enables users to

access recorded versions of its workout classes. Music publishers’ traditional practices for

licensing reproduction rights for television shows and feature films were ill-suited for this aspect

of Peloton’s service (which fitness consumers sought and expected). Traditional “sync” licenses

are issued on an individual composition basis, one by one, and well in advance of exhibition of the

content. But Peloton’s service called for multiple (or catalog-based) reproduction rights clearances

to cover the music that instructors wish to incorporate into their classes, which are planned only

days, or sometimes hours, in advance. As a result, Peloton has worked proactively and

collaboratively with the music publishing industry to develop a licensing structure (and supporting

systems) to address its unique use case. And it has secured reproduction rights licenses from all

the “major” music publishers and many independent music publishers.

               Why are we here then? Because of the anticompetitive and tortious conduct of the

Counterclaim Defendant National Music Publishers’ Association, Inc. (“NMPA”). Specifically,

NMPA has instigated a coordinated effort with the Counterclaim Defendant music publishers (the




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“Coordinating Publishers”) to fix prices and to engage in a concerted refusal to deal with Peloton.

Through these actions, NMPA has exceeded the bounds of legitimate conduct for a trade

association and become the ringleader of concerted activity among would-be competitor music

publishers, all in violation of the antitrust laws. NMPA has also knowingly acted to impede direct

negotiations between music publishers and Peloton in a manner that constitutes tortious

interference with Peloton’s business relationships. These unlawful actions have harmed Peloton,

have harmed competition, and will continue to harm both until enjoined by this Court.

                                          Background

       A.      Peloton

               Peloton sits at the nexus of technology, media, and fitness. It is the gold standard

for interactive at-home fitness equipment and content. Peloton was formed in 2012 in New York

City. After extensive research and development, it brought to market its first product, the Peloton

Bike. The Peloton Bike is a best-in-class stationary bike with a built-in HD touchscreen that

displays live and on-demand group workout classes led by elite fitness instructors through a

connected software platform where riders can track their fitness and engage with other members

in the community.

               The Peloton Bike simulates the experience of an in-studio group cycling class, but

from the comfort of the rider’s own home. Peloton operates an indoor cycling studio in New York

City, at which members of the public take instructor-led group cycling classes which are streamed

in real-time to home riders of the Peloton Bikes. Those live streamed classes are also recorded and

archived in Peloton’s on-demand library (now consisting of thousands of classes) for later

consumption by home riders of the Peloton Bikes. The Bike tracks performance metrics such as

resistance, cadence, and output during a ride. Total output—a composite of resistance and

cadence—is displayed on a leaderboard that compares the user to other riders and to his or her own


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past performance. And by providing variations of the live leaderboard in on-demand classes, the

Bike recreates the real-time competition and community-centered aspects of a class (like allowing

riders to give each other “high-fives”) that make in-studio group cycling classes so popular.

Peloton recently launched an at-home treadmill, the Peloton Tread, that applies the same concept

to running, walking, and boot camp cardio. Bike or Tread users, or those who subscribe to

Peloton’s app-only offering, Peloton Digital, can also take outdoor running, stretching, strength

training, yoga, and meditation classes from their favorite Peloton instructors.

               One component of these instructor-led classes—and the one that gave rise to this

lawsuit—is music. Instructors choose music to play during their classes, curating playlists of songs

that are suitable for the feel and tempo desired by the instructor. Instructors speak over the music

during classes to provide real-time coaching, direction, and inspiration to members, including

personalized and encouraging “shout-outs” to both in-studio and at-home riders.

       B.      NMPA and the Coordinating Publishers

               NMPA is the largest trade association of music publishers in the United States. It

claims that its members control the copyrights to “the vast majority of musical compositions

licensed . . . in the United States.” David M. Israelite is its President and CEO.

               Whatever conduct NMPA may engage in legitimately as a trade association, it may

not engage in actions to coordinate negotiations (including over price terms) or to coordinate

refusals to deal among a group of otherwise-competitor music publishers. Yet that is precisely

what NMPA did here.

               NMPA first sought to extract supracompetitive license terms from Peloton by

negotiating collectively on behalf of a large (though unidentified) number of member publishers.

NMPA deliberately obscured the identities of the publishers on whose behalf it was negotiating

despite multiple requests by Peloton for this information. When NMPA’s collective negotiations


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with Peloton later stalled (for reasons NMPA never disclosed to Peloton), Peloton pursued direct

negotiations with a number of music publishers. After participating in seemingly meaningful

negotiations, however, several of the Coordinating Publishers suddenly—and virtually at the same

time—cut off their negotiations and collectively refused to deal with Peloton. This refusal to deal

with Peloton was at the urging of NMPA, which had taken steps to disrupt Peloton’s direct

negotiations with publishers, in part, by conveying misinformation to those publishers about

Peloton’s positions and practices. NMPA, for its part, did not act for a valid business purpose but,

instead, in the words of Israelite, sought to “make an example out of” Peloton.

               Although not a named plaintiff, NMPA was the ringleader in the filing of the

Complaint. NMPA issued a press release touting the filing on the day the Complaint was filed, and

Israelite appeared on CNBC that same afternoon in a segment titled: “The man behind the Peloton

lawsuit explains.”

               NMPA’s conduct here goes far beyond the permissible activities of a trade

association and violates the federal antitrust laws and New York state law.

                                      Counterclaim Parties

               Counterclaim Plaintiff Peloton Interactive, Inc. (“Peloton”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of business

in New York.

               Counterclaim Defendant Downtown Music Publishing LLC (“Downtown”) is a

limited liability company organized and existing under the laws of Delaware, with its principal

place of business in New York.




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                 Counterclaim Defendant Anthem Entertainment L.P. (f/k/a ole Media

Management, L.P.) (“Anthem”) is a limited partnership organized and existing under the laws of

Ontario, Canada, with its principal place of business in Toronto, Ontario.

                 Counterclaim Defendant Big Deal Music, LLC (“Big Deal”) is a limited liability

company organized and existing under the laws of Delaware, with its principal place of business

in California.

                 Counterclaim Defendant “Peer” consists of a group of related entities. Peer

International Corporation is organized and existing under the laws of New Jersey, with its principal

place of business in New York. PSO Limited and Peermusic Ltd. are corporations organized and

existing under the laws of New York, with their principal places of business in New York.

Peermusic III, Ltd., Peertunes, Ltd., and Songs of Peer, Ltd. are corporations organized and

existing under the laws of Delaware, with their principal places of business in New York.

                 Counterclaim Defendant Pulse Music Group (“Pulse”) is a limited liability

corporation organized and existing under the laws of Delaware, with its principal place of business

in California.

                 Counterclaim Defendant Reservoir Media Management, Inc. (“Reservoir”) is a

corporation organized and existing under the laws of Delaware, with its principal place of business

in New York.

                 Counterclaim Defendant “TRO” consists of a group of related entities. The

Richmond Organization, Inc., Devon Music, Inc., Essex Music, Inc., Essex Music International,

Inc., Folkways Music Publishers, Inc., Hampshire House Publishing Corp., Hollis Music, Inc.,

Ludlow Music, Inc., Melody Trails, Inc., Musical Comedy Productions, Inc., and Words & Music,

Inc. are corporations organized and existing under the laws of New York, with their principal




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places of business in New York. Palm Valley Music, LLC is a limited liability company organized

and existing under the laws of Delaware with its principal place of business in New York.

               Counterclaim Defendant “Round Hill” consists of a group of related entities. Round

Hill Music LLC is a corporation organized and existing under the laws of Delaware, with its

principal place of business in New York. Round Hill Music LP is a limited partnership organized

and existing under the laws of Delaware, with its principal place of business in New York.

               Counterclaim Defendant The Royalty Network Inc. (“Royalty”) is a corporation

organized and existing under the laws of New York, with its principal place of business in New

York.

               Counterclaim Defendant Ultra International Music Publishing, LLC (“Ultra”) is a

corporation organized and existing under the laws of New York, with its principal place of business

in New York.

               Counterclaim Defendant NMPA is a Washington-D.C.-based trade association,

with its principal address at 975 F Street NW, Suite 375, Washington, DC 20004.

                                    Jurisdiction and Venue

               This Court has original subject-matter jurisdiction over counterclaims for violations

of the antitrust laws of the United States under 28 U.S.C. §§ 1331, 1337; and 15 U.S.C. §§ 15, 26.

This Court has related jurisdiction over the state law counterclaims under 28 U.S.C. § 1367.

               This Court has personal jurisdiction over each of the Coordinating Publishers.

These counterclaims arise out of the same facts and circumstances as the Coordinating Publishers’

initially-filed lawsuit, and those publishers consented to the personal jurisdiction of New York by

filing this case in New York.




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               This Court also has personal jurisdiction over NMPA. Jurisdiction over NMPA

satisfies New York’s long-arm statute for two reasons. First, NMPA transacts business within New

York including, but not limited to, by entering into membership agreements with music publishers,

organizing meetings between Coordinating Publishers, and negotiating with music users in New

York. Second, NMPA has committed tortious acts causing injury to Peloton, a “person” within

New York, and NMPA regularly does business in New York, engages in a persistent course of

conduct in New York, and knew or reasonably expected that its actions would cause harm in New

York. NMPA also engages in interstate commerce. These same contacts satisfy the constitutional

inquiry because these counterclaims arise out of NMPA’s contacts with New York.

               Venue is proper in this district under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to the counterclaims occurred in this judicial district.

               Peloton brings this action pursuant to Section 1 of the Sherman Act, 15 U.S.C. § 1,

Section 16 of the Clayton Act, 15 U.S.C. § 26, and New York state law, to enjoin the Counterclaim

Defendants’ anticompetitive conduct and other violations of the law, and to recover treble damages

associated with overpayments, reputational damage, and other losses Peloton has incurred by

virtue of the Counterclaim Defendants’ antitrust violations and tortious conduct, together with the

costs of this suit and reasonable attorneys’ fees.

                                        Factual Allegations

       A.      The Early Years and Development of a Licensing Model Embraced by the
               Majors and Many Indie Publishers

               As Peloton’s business evolved, it became apparent that the existing infrastructure

for sync licensing was ill-suited to address the reproduction rights licenses that were appropriate

for Peloton’s use case. Peloton obtained comprehensive licensing of the sound recording rights for

its service via “catalog-wide” licenses (i.e., covering all or substantially all of a licensor’s



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repertoire) directly from the labels with whom Peloton entered into license agreements. And it

obtained comprehensive licensing of the public performance rights associated with the

compositions embodied in those sound recordings from the relevant performing rights

organizations.

                 But traditional sync licensing of musical works has historically been conducted on

an individual song-by-song basis where the songs are pre-determined by the licensee well in

advance of their intended use. In contrast, the nature of Peloton’s service offering is that such

catalog-wide licenses (covering, in many cases, yet-to-be-selected songs) are more appropriate. In

its early years, and during its efforts to obtain licenses, Peloton was frequently advised by

publishers to defer discussions regarding reproduction rights until Peloton could demonstrate a

viable business case. At the time, the publishers lacked the systems necessary to facilitate efficient

reproduction rights licensing for Peloton’s use case.

                 The publishing licensing marketplace was, and continues to be, complicated further

by the largely nonpublic, fractionalized, and opaque nature of ownership information regarding

who owns the rights to musical works. This lack of transparency has long plagued both music

licensors and licensees. In fact, this is a major issue addressed by the passage of the Music

Modernization Act signed into law in late 2018, which provides for the creation of a centralized

database of musical work ownership information (which has yet to be established).

                 To address these challenges, Peloton invested substantial time and resources

(costing tens of millions of dollars) developing systems and infrastructure to enable licensing

mechanisms appropriate for its business. It engaged multiple third-party vendors and consultants

and made substantial investments (including its acquisition in 2018 of a standalone digital music

service provider and software platform, Neurotic Media, Inc.) to better position itself to address




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the needs of licensors in the licensing marketplace. Facilitated by the groundwork it had laid,

Peloton collaborated with music publishers to develop an innovative reproduction rights licensing

framework that is appropriate for its business and reached agreements with all the “major” music

publishers and many independent music publishers (as well as the performing rights

organizations).

       B.         NMPA’s Joint License Negotiations with Peloton

                  In an April 9, 2018 letter, NMPA first announced to Peloton its intention to

collectively negotiate a licensing arrangement on behalf of an untold number of its member

companies. While NMPA acknowledged in that letter that it was “encouraged” that Peloton had

reached license agreements with many publishers, it accused Peloton of infringing uses of works

owned at least in part by other unnamed NMPA members. The letter made clear that NMPA

intended to negotiate on behalf of publishers to obtain “compensation for all past, present, and

future uses of musical works.”

                  In light of NMPA’s letter and NMPA’s threats that it would turn many in the music

publishing industry against Peloton if it did not engage with NMPA, Peloton felt it had little choice

but to enter into negotiations with NMPA. Peloton and NMPA began discussing possible terms

for Peloton to license, on a going-forward basis, the use of compositions controlled by NMPA

members which had not yet entered into agreements with Peloton (as well as compensation, to the

extent it might be applicable, for any prior uses of said publishers’ works).

                  One significant point of disagreement between NMPA and Peloton concerned

NMPA’s insistence on compensation for all its member publishers that had not previously entered

into agreements with Peloton, regardless of whether Peloton had any desire to use songs controlled

by every NMPA member publisher. Peloton explained to NMPA during negotiations that, unlike




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music streaming services, Peloton does not need licenses to all or even most music to provide a

compelling experience for Peloton users; and it was therefore unreasonable and uneconomical for

Peloton to pay publishers whose works would never be used on Peloton’s platform.

               Accordingly, Peloton asked NMPA on several occasions for a list of NMPA

member publishers so that any negotiations could be tethered to those publishers whose works

Peloton had an interest in using on its service. NMPA repeatedly refused to disclose the identities

of its members—claiming it was somehow proprietary (this despite the existence of a non-

disclosure agreement entered into by NMPA and Peloton that would have protected NMPA against

any non-consensual disclosure). NMPA was obviously seeking to capitalize on this information

asymmetry in its negotiations with Peloton.

               NMPA also demanded that Peloton deal only through NMPA and not with

individual member publishers, except for those publishers with whom Peloton had previously been

in discussions. Peloton felt it had no choice but to accede to the ground-rules laid out by NMPA,

especially given NMPA’s refusal to identify the publishers that it was purporting to represent in

the negotiations.

               Over the course of months after receipt of NMPA’s April 2018 letter, Peloton

engaged in discussions with NMPA with the hope and expectation that NMPA would act

constructively rather than anticompetitively. During these negotiations, NMPA, on behalf of the

unnamed music publishers, exchanged with Peloton proposals and counter-proposals regarding

contract terms (including prices for licenses).

               Peloton proceeded in good faith with such negotiations with NMPA throughout

2018, in part given NMPA’s frequent acknowledgements that the parties were making progress,




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and under the expectation that at some point soon NMPA would disclose the publishers who were

considering Peloton’s offer.

               Ultimately, however, Peloton learned that NMPA was not reciprocating in good

faith. Upon information and belief, NMPA deliberately obfuscated to member publishers the

substance of its discussions with Peloton, including by misrepresenting Peloton’s positions during

those negotiations. Among other things, upon information and belief, NMPA told its members that

Peloton had withdrawn from the negotiations and was unwilling to further engage. This was

untrue. It was NMPA which, without any explanation to Peloton, simply stopped responding to

Peloton’s attempts to negotiate in good faith in late 2018. As just one example, NMPA rejected

Peloton’s offer in late 2018 to travel to meet with NMPA in person at its offices in Washington,

D.C.

               Another example of its bad faith was that NMPA used the negotiations to mine

Peloton for information. Peloton entered into a non-disclosure agreement (NDA) with NMPA with

the understanding that it would be used to facilitate negotiations between them. The NDA

unequivocally stated that proprietary information shared pursuant to the NDA could be used only

for “consideration internally of a business relationship or transaction between the parties, and its

performance in any resulting arrangement, but not for any other purpose.” On information and

belief, NMPA later breached this NDA by disseminating and using proprietary information

received from Peloton for a purpose very foreign to the notion of “consideration . . . of a business

relationship.” More specifically, NMPA used Peloton’s information to interfere with individual

publishers’ ensuing negotiations with Peloton (described below) and to orchestrate the

commencement of this lawsuit.




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       C.      Peloton’s Attempts to Directly Negotiate with Individual Publishers

               By January 2019, despite repeated outreaches from Peloton, NMPA had become

increasingly non-responsive in the discussions with Peloton. Accordingly, Peloton then reached

out individually to pursue licenses directly with several music publishers—including ole,

Reservoir, Big Deal, Pulse, Round Hill and the Peer group of publishers—whose works Peloton

desired to use on its service. Peloton also sought to continue a direct dialogue with Downtown,

with whom it had been in discussions previously. But these Coordinating Publishers, after initially

taking part in what appeared to be sincere negotiations, suddenly ceased communications with

Peloton in a near-simultaneous and identical fashion in early 2019. This was the product of a

concerted refusal to deal with Peloton instigated by NMPA and its leadership. The following

negotiations exemplify the course of Peloton’s attempted direct license negotiations.

            a. Ole

               Anthem, which was known as ole prior to June 2019, is a music publisher claiming

to own an interest in many popular compositions. On or about January 4, 2019, Peloton engaged

in negotiations with ole to discuss a potential license for copyrights controlled by ole.

               Ole had specifically expressed interest in discussing a direct license with Peloton.

Peloton and ole engaged in extensive negotiations, as part of which Peloton offered to travel to

ole’s offices in Canada for an in-person meeting.

               License negotiations between Peloton and ole progressed to the point where, on

February 1, 2019, Peloton sent term sheets and other offer materials to ole. Peloton also prepared

and sent an NDA to ole to facilitate the negotiations.

               Then, in an abrupt change of course, ole stopped responding to Peloton’s outreach.

In the next correspondence from ole on February 11, 2019, ole stated that it had been

communicating with NMPA and refused to sign the NDA.


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                Peloton’s discussions with ole revealed that NMPA conveyed information to and

coordinated with ole in February 2019 simultaneously with Peloton’s efforts to finalize a direct

license with ole.

                On February 19, 2019, Peloton once again followed up and, during such

communication, notified ole that Peloton had learned of a behind-the-scenes effort by NMPA to

discourage direct individual publisher negotiations in favor of collective negotiations. Ole never

denied NMPA’s efforts.

                Ole continued to refuse to engage with Peloton until the filing of this lawsuit in

which ole was named as a plaintiff.

           b. Reservoir

                Reservoir Media Management, Inc. is a music publisher claiming to own an interest

in many popular compositions. In January 2019, Peloton contacted Reservoir to initiate

negotiations for a direct license to utilize copyrights controlled by Reservoir. The parties

exchanged several telephone calls and emails. Negotiations progressed to the point where the

parties discussed specific terms of a license agreement; and on January 28, 2019, Peloton sent a

term sheet and other offer materials to Reservoir.

                On February 8, 2019, Peloton prepared and sent a draft NDA to facilitate the

negotiations.

                On February 14, 2019, Peloton sent a signed copy of the NDA to Reservoir for

counter-signature. Reservoir, however, abruptly stopped responding to Peloton’s communications

and refused to sign the NDA.




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               Peloton’s discussions with Reservoir revealed that NMPA conveyed information to

and coordinated with Reservoir in February 2019 simultaneously with Peloton’s efforts to finalize

a direct license with Reservoir.

               On February 19, 2019, Peloton once again followed up with Reservoir and, during

such communication, notified Reservoir that Peloton had learned of a behind-the-scenes effort by

NMPA to discourage direct individual publisher negotiations in favor of collective negotiations.

Reservoir never denied NMPA’s efforts.

               Peloton heard nothing further from Reservoir until the filing of this lawsuit.

           c. Downtown

               Discussions between Peloton and Downtown started somewhat differently than the

other Coordinating Publishers with whom Peloton was negotiating in early 2019—but they ended

the same way. Peloton and Downtown had been in discussions independent of the Peloton-NMPA

negotiations in 2018. Those discussions had progressed to a point where Peloton had provided data

and proposed license terms to Downtown. But no agreement was reached by the end of 2018.

               In mid-January 2019, while it was engaged in separate direct negotiations with

several other music publishers as described above, Peloton made a further proposal to Downtown

with the hope of progressing negotiations. But Downtown abruptly went silent that month in its

discussions with Peloton. It did not accept Peloton’s proposal and, despite follow-up outreaches

from Peloton, did not re-engage with Peloton. NMPA, meanwhile, conveyed information to and

coordinated with Downtown simultaneously with Peloton’s efforts in early 2019 to finalize a direct

license with Downtown.




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                 d. Other Publishers

                 Apart from ole, Reservoir, and Downtown, Peloton also reached out to and

negotiated individually with several other Coordinating Publishers—and other music publishers—

in early 2019.

                 In the negotiations with other Coordinating Publishers, the same or very similar

fact pattern emerged: negotiations progressed, proposed term sheets were prepared and sent, and

then the publisher suddenly cut off negotiations, all around the same time. And like with ole,

Reservoir, and Downtown, NMPA had conveyed information to and coordinated with these other

Coordinating Publishers simultaneously with Peloton’s efforts to finalize direct licenses with those

publishers.

                 Upon information and belief, NMPA instigated this collective refusal to deal by,

among other means, misrepresenting the status of Peloton’s engagement and negotiations with

NMPA and providing and using information (and misinformation) in violation of the NDA it had

signed with Peloton.

                 As noted above, Peloton also engaged in individual negotiations in early 2019 with

some additional music publishers. During this period between the time when discussions with

NMPA broke down and the filing of this lawsuit, Peloton was able to reach agreements with certain

music publishers who had initially been a part of the group NMPA had purportedly represented in

the collective negotiations. NMPA placed significant pressure upon certain of these music

publishers (as it did with the Coordinating Publishers) to cease direct individual discussions with

Peloton and to collectively negotiate only through NMPA, which allowed these publishers to

secure consideration from Peloton at a cost in excess of what Peloton would have otherwise had

to incur but for NMPA’s anticompetitive conduct and tortious interference.




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       D.      NMPA as a Vehicle of Collusion

               Although they are horizontal competitors, the Coordinating Publishers, at the

instigation of NMPA, have joined together to take advantage of the weight they collectively exert.

               The highly concentrated nature of the music publishing marketplace has enabled

NMPA and the Coordinating Publishers to collude and to enforce such collusion.

               By NMPA’s own acknowledgement, NMPA represents virtually the entire United

States music publishing industry. NMPA is a trade association that has long served as a vehicle

for coordination between and among publishers. Indeed, NMPA promotes its role in organizing

collective negotiations as a member benefit in its marketing materials and public statements.

NMPA’s Israelite has also publicly stated that “we have negotiated numerous model agreements

with online music service providers.” And Billboard Magazine recently observed of a recent

NMPA annual meeting that: “Like other speakers, Israelite urged the entire music industry to work

together to ‘expand the pie,’ and not turn[] on one another to get a bigger piece of the pie.”

               The Coordinating Publishers, as instigated by and through NMPA, have engaged

in collective negotiations of license terms and have exchanged information with each other about

ongoing license negotiations, including competitively sensitive information such as license terms,

rates, and usage data.

               The Coordinating Publishers have many opportunities to meet and exchange such

information at trade association meetings across the country, many of which are organized by

NMPA. In the 12 months prior to the filing of the initial Complaint herein alone, NMPA organized

the following events:

     Date                   NMPA Event                                       Location

     February 6, 2019       Grammy Week Songwriter Showcase                  Los Angeles, CA



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     October 18, 2018       Annual Gold & Platinum Gala                      Nashville, TN

     September 17, 2018 DC Songwriter Reception                              Washington, DC

     September 17, 2018 S.O.N.G.S. Foundation DC Golf Tournament Washington, DC

     June 13, 2018          NMPA Annual Meeting                              New York, NY

     May 7, 2018            S.O.N.G.S. Foundation LA Golf Tournament         Los Angeles, CA

     February 6, 2018       LA Songwriters Showcase                          Los Angeles, CA


               NMPA also organizes events that are invitation-only. Indeed, upon information and

belief, NMPA organized separate “backroom” meetings involving the Coordinating Publishers, in

furtherance of their collusion, that were held apart from the larger group of participants during

NMPA events. These meetings excluded, at NMPA’s direction, music publishers with whom

Peloton had existing licenses.

       E.      NMPA’s Continued Interference with Peloton’s Business Relations

               The Harry Fox Agency (“HFA”) is a rights-management agency that provides

music publishing licensing and rights administration services, including through Rumblefish, its

proprietary database. Michael Simon is the President and CEO of HFA, and President of

Rumblefish. NMPA founded and owned HFA until October 2015, when SESAC—a performing

rights organization—acquired HFA.

               HFA claims that it is “the gold-standard” in rights management, and that

Rumblefish “remains the most trusted and reliable provider of administrative services and royalty

administration for over fifty media and technology clients . . . .” HFA further claims that it “will




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continue to provide the highest level of service to the industry” and that its “commitment to works

matching, licensing, royalty collection and distribution has never wavered.”

               On July 24, 2018, Peloton and HFA executed a mutual non-disclosure agreement

(“NDA”) that contemplated that HFA would provide data services to Peloton, and, in January

2019, Peloton and HFA began to formally discuss specific data services in connection with the

Peloton platform.

               On February 1, 2019, HFA d/b/a Rumblefish simultaneously executed an

amendment to the terms of the NDA and entered into an Administration Services Agreement with

Peloton to provide two separate data deliverables. Under the terms of this agreement, HFA agreed

that it would: (1) assist Peloton with identifying musical works embodied in certain sound

recording data, and provide U.S. publisher information and ownership shares associated with the

identified musical works; and (2) assist Peloton with identifying musical works that have been

licensed 100% under direct worldwide synchronization licensing agreements between Peloton and

numerous publishers on a catalog-wide basis in connection with Peloton’s platform.

               Specifically, HFA agreed to deliver a report of data relating to sound recordings

identified by Peloton, including the title of the musical work, the writer name(s), the associated

unique Rumblefish identifier for each musical work, and each publisher(s) name and respective

ownership shares for each musical work embodied in such sound recordings. On February 5, 2019,

Peloton uploaded a request file and provided written notification to HFA. HFA provided to Peloton

a deliverable in response on February 19, 2019.

               Under the terms of the February 1 agreement, HFA also agreed to provide a report

that would indicate with a flag those sound recordings embodying an underlying musical work that

HFA believed to be licensed 100% under Peloton’s direct licensing agreements with publishers.




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On February 5, 2019, Peloton uploaded a request file of titles and provided written notification to

HFA. HFA provided to Peloton two deliverables in response, one on February 25, 2019 and the

other on March 7, 2019.

               On March 27, 2019, HFA d/b/a Rumblefish entered into a second Administration

Services Agreement with Peloton. Under the terms of this agreement, HFA agreed to assist Peloton

with identifying musical works that have been licensed 100% under Peloton’s direct licensing

agreements with specified music publishers, both on a catalog-wide and song-by-song basis. On

March 26, 2019, Peloton uploaded its request file and provided written notification to HFA. HFA

provided to Peloton a deliverable in response on March 29, 2019.

               On April 18, 2019, Peloton and HFA further agreed that HFA would provide an

additional data deliverable. Specifically, HFA agreed that it would process another request file of

approximately 100,000 titles to determine if they were licensed 100% under Peloton’s direct

licensing agreements. On April 22, 2019, Peloton uploaded its request file and provided written

notification to HFA. HFA provided to Peloton a deliverable in response on May 2, 2019.

               During May 2019, Peloton and HFA engaged in extensive discussions concerning

additional services to be provided by HFA, including routine update reports. On or about May 16,

2019, Peloton sent HFA an email setting forth the terms of the contemplated services. HFA

responded on May 20, 2019, stating that HFA President/CEO Michael Simon was out of the office

but that HFA would review and “get back” to Peloton later that week.

               However, after the May 20 email, HFA suddenly and inexplicably ceased all

communications with Peloton. Peloton reached out to HFA repeatedly on May 28, 2019, May 30,

2019, and June 3, 2019 to seek an explanation but received no response.




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               On or about June 4, 2019, Mr. Simon called Peloton, stating that HFA was under

“a ton of pressure, not just from D.C. but also from New York”—meaning NMPA and other

members of the publishing industry affiliated with NMPA—to stop working with Peloton. Simon

further stated that, as a result of this “ton of pressure,” he had directed the Rumblefish team to not

engage with Peloton, and that he understood that there would “be many more compositions and

plaintiffs coming into the lawsuit.”

               Upon information and belief, NMPA deliberately interfered with HFA’s work with

Peloton to impede Peloton’s efforts to ensure that all of the musical works embodied in Peloton

videos were subject to Peloton’s direct licenses with publishers on a 100% basis, i.e., covering

interests of all co-owners of such musical works.

               Peloton later discovered that HFA also had provided faulty data in its data

deliverables between February 2019 and May 2019, insofar as it provided inaccurate information

about the ownership of some musical works.

       F.      The Relevant Market

               The relevant product market is reproduction rights licenses to the copyrighted

works controlled (in whole or in part) and collectively negotiated by the Coordinating Publishers

through NMPA (the “collectively negotiated copyrights”).

               Reproduction rights licenses from other publishers would not provide the

copyrights necessary for music users to use such works and are thus not reasonably

interchangeable with those collectively negotiated by NMPA and its members. If a NMPA member

holds any interest, even a partial or fractional interest, in a copyrighted work, a music user may

need to obtain a license from that party for the work or otherwise face potential liability for




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copyright infringement. Other licenses would not substitute for the collectively negotiated

copyrights.

               The relevant geographic market is the United States. NMPA members do not limit

their licenses to the collectively negotiated copyrights to any one part of the country, but they sell

licenses to Peloton and to other music users all over the United States.

                                    Anticompetitive Behavior

               NMPA and Coordinating Publishers have entered into unlawful agreements in

restraint of trade to obtain higher payments for the collectively negotiated copyrights.

       A.      Collective Negotiations and Concerted Refusal to Deal Artificially Restrain
               Competition

               Individual publishers are horizontal competitors within the meaning of the antitrust

laws. But for their agreements, the Coordinating Publishers would individually negotiate licenses

of rights to their musical works to music users like Peloton.

               NMPA and the Coordinating Publishers have agreed to aggregate and jointly

negotiate licenses providing access to the copyrighted works controlled by the Coordinating

Publishers, thus eliminating price competition among and between Coordinating Publishers.

               By agreeing to make NMPA the designated negotiator of their copyrights and

engaging in the conduct described above, including both efforts to fix prices for the collectively

negotiated copyrights and then engaging in a group boycott, NMPA and the Coordinating

Publishers have agreed to make it either impossible or, at a minimum, uneconomical for Peloton

to negotiate direct licenses.

               Other than to limit competition, it is against the economic self-interest of the

Coordinating Publishers to refuse to offer to prospective licensees access to their musical works

other than through an NMPA-negotiated collective license.



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                Absent a common understanding, the Coordinating Publishers’ economic self-

interest would lead them to maintain maximum flexibility to negotiate the best possible license fee

for their own works, including the ability to negotiate direct licenses with individual music users

like Peloton.

                When coordinating through NMPA, the Coordinating Publishers share a common

understanding that they will refrain from competing with each other for access to the copyrights

they control. By joining forces, the Coordinating Publishers seek to enjoy supracompetitive prices

for their licenses.

                By colluding with one another, NMPA and the Coordinating Publishers are acting

as a cartel, such that (i) any collectively negotiated payments amount to a form of price fixing

between horizontal competitors, and (ii) their concerted refusal to deal with Peloton amounts to a

group boycott. Upon information and belief, NMPA is continuing to exert pressure on additional

music publishers that are not party to this action in order to expand the existing cartel.

        B.      Lack of Procompetitive Justification

                NMPA and the Coordinating Publishers’ collective negotiations do not offer

procompetitive benefits outweighing the competitive harms. There is no inability on the part of

individual publishers, whatever their size, to engage in direct individual negotiations with Peloton

and other users. NMPA admitted as much in its public comments submitted to the Department of

Justice lobbying for a repeal of the ASCAP/BMI consent decrees. It argued that “even small

publishers, with adequate technology, can efficiently engage in direct licensing . . . .”

                NMPA’s insistence on negotiating for the benefit of an aggregation of music

publishers, regardless of whether Peloton had any desire to use the compositions controlled by

publishers that were part of that aggregation, drains the collective negotiations of any supposed

efficiencies. Unlike with music streaming services, the nature of Peloton’s use of music does not


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require that it have access to the tens of millions of tracks that are typical of on-demand digital

music service offerings. NMPA nevertheless was effectively demanding Peloton to commit to pay

for content that Peloton had no interest in using.

               Further, a significant percentage of the collectively negotiated copyrights are only

offered as fractional licenses, meaning that a licensee cannot use that music without obtaining

additional licenses from other co-owners of those works. In other words, even negotiating a license

to the collectively negotiated copyrights would not protect a licensee from the risk of copyright

infringement where the Coordinating Publishers do not control 100% interests in the relevant

works.

               In fact, upon information and belief, only about 10% of the compositions identified

in the Complaint are 100% controlled by a single Coordinating Publisher; and even considering

the interests of all the Coordinating Publishers in the aggregate, only an additional 2% (or a total

of approximately 12%) of the compositions identified in the Complaint are 100% controlled by

the Coordinating Publishers as a group.

               NMPA and the Coordinating Publishers’ conduct has not otherwise improved the

quality or quantity of reproduction rights available to music users.

                The type of collective licensing offered by NMPA falls far short of the only type

of collective licensing of music rights that the Supreme Court has ever permitted. The Supreme

Court allowed collective licensing through ASCAP and BMI to survive antitrust challenge, albeit

subject to consent decree protections for licensees, only because their licenses purported to provide

“unplanned, rapid, and indemnified access” to the works in those collectives’ repertories. Broad.

Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 20 (1979). But NMPA does not offer such

ready indemnified access to the collectively negotiated copyrights, because the licensee must still




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secure reproduction rights from any other co-owners of those works. Nor are NMPA’s collective

acts subject to the types of regulatory safeguards (e.g., effective compulsory licensing and judicial

rate oversight) provided by the ASCAP and BMI consent decrees.

               As a result, NMPA and the Coordinating Publishers’ collective licensing activities

do not outweigh the resulting competitive harms.

                                        Competitive Harm

               The purpose and effect of the anticompetitive behavior described above has been

to force music users, such as Peloton, to pay supracompetitive prices for licenses to the collectively

negotiated copyrights and/or to be foreclosed from the licensing of the collectively negotiated

copyrights.

               By virtue of their anticompetitive conduct, NMPA and the Coordinating Publishers

seek to obtain payments for licenses for the collectively negotiated copyrights that are much higher

than would otherwise be possible absent their collusion.

               The conduct has also had a chilling effect on the licensing marketplace by

artificially limiting Peloton’s ability to secure direct licenses from other music publishers in the

United States and abroad on competitive terms. Despite Peloton’s continued efforts to seek

licenses from music publishers that are not party to this lawsuit, the conduct of NMPA and the

Coordinating Publishers has led some of those publishers to refrain from engaging in discussions

with Peloton. Furthermore, licensors who were previously in productive discussions with Peloton

are now seeking to use the coordinated conduct of the Counterclaim Defendants as a means to

extract additional compensation.




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                                         Antitrust Injury

               Peloton has suffered and will continue to suffer injury of the type that the antitrust

laws were intended to prevent and that directly results from NMPA and the Coordinating

Publishers’ unlawful conduct described above.

               Because the Coordinating Publishers banded together to leverage their copyrights,

Peloton has faced distorted license negotiations and has had to pay supracompetitive prices for

certain rights. In addition, the anticompetitive conduct described above has limited the supply of

direct licenses. Further, Peloton also has suffered harm to its reputation and goodwill built through

years of investments. Peloton will continue to face the same anticompetitive scenario in the future

and brings the present action to seek redress for the unlawful behavior of NMPA and the

Coordinating Publishers.

                                   COUNT I
                UNLAWFUL AGREEMENTS IN RESTRAINT OF TRADE
                IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT
                       (ALL COUNTERCLAIM DEFENDANTS)

               Peloton incorporates by reference the allegations set forth in Paragraphs 1 through

103 as though repeated and realleged here in full.

               As early as 2018, and continuing to the present, the exact dates being unknown to

Peloton, NMPA and the Coordinating Publishers entered into a continuing agreement,

understanding, and conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

               The anticompetitive acts were intentionally directed at the United States and had a

substantial and foreseeable effect on interstate commerce by artificially raising and fixing prices

for the collectively negotiated copyrights throughout the United States.




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               In formulating and carrying out the alleged agreement, understanding, and

conspiracy, NMPA and the Coordinating Publishers did those things that they agreed and

conspired to do, including: (i) agreeing to license only on the basis of a common price for the

collectively negotiated copyrights; and (ii) entering into a concerted refusal to deal with Peloton,

except through licenses collectively negotiated by NMPA.

               Because of the unlawful conduct of NMPA and the Coordinating Publishers,

Peloton has been harmed by being forced to make artificially inflated, supracompetitive payments

to music publishers. The conspiracy has had the following effects, among others:

               a.      Price competition for the collectively negotiated copyrights has been

                       restrained, suppressed, and/or eliminated in the United States;

               b.      Prices for the collectively negotiated copyrights have been fixed, raised,

                       maintained, and stabilized at artificially high, non-competitive levels

                       throughout the United States; and

               c.      Peloton has been deprived of the benefits of free and open competition.

               Peloton has been injured and will continue to be injured in its business and property

by having to pay more for copyrights than it would have to pay in the absence of a conspiracy.

Peloton has also experienced reputational harm, loss of goodwill, and diminished supply of direct

licenses due to the anticompetitive conduct of NMPA and the Coordinating Publishers.

               As a direct and proximate result of the unlawful conduct of NMPA and the

Coordinating Publishers in furtherance of the violations alleged, Peloton has been injured in its

business and property in an amount to be proved at trial and to be automatically trebled, as provided

by 15 U.S.C. § 15.




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               Peloton is also entitled to recover from NMPA and the Coordinating Publishers the

cost of suit, including its reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.

               Peloton will suffer irreparable injury and loss of its business and property, for which

there is no adequate remedy at law, unless the Court enjoins NMPA and the Coordinating

Publishers from their unlawful conduct and continuing violations of the antitrust laws. An

injunction is thus necessary to remedy the continuing violation.

                             COUNT II
   TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS RELATIONS IN
                 VIOLATION OF NEW YORK STATE LAW
                              (NMPA)

               Peloton incorporates by reference the allegations set forth in Paragraphs 1 through

103 as though repeated and realleged here in full.

               Peloton enjoyed business relations with music publishers and had a reasonable

expectancy of future business relationships for the licensing of copyrights. Peloton engaged in

individual negotiations with music publishers for such licenses.

               As explained in detail above, music publishers were prepared to negotiate and issue

licenses to Peloton up until the time of NMPA’s ringleading efforts to coordinate a concerted

refusal to deal with Peloton. At all relevant times, NMPA had actual knowledge of these business

relationships and knew that these relationships constituted valuable business for Peloton.

               NMPA interfered with the ongoing negotiations between Peloton and music

publishers by encouraging them to cease discussions of direct licenses and to collectively negotiate

licenses instead.

               NMPA acted with the purpose of harming Peloton, and by using dishonest, unfair,

and improper means to do so, including, but not limited to: its anticompetitive collusion described

above; its provision and use of information (and misinformation) to Coordinating Publishers in



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violation of the NMPA-Peloton NDA; and by making misrepresentations (about Peloton and its

prior negotiations with NMPA) to individual publishers with whom Peloton was negotiating.

NMPA did so with the purpose of disrupting Peloton’s negotiations with such publishers. NMPA’s

explicit and malicious intent to harm Peloton is further illustrated by its actions interfering with

the Harry Fox Agency’s work for Peloton.

               As a direct and proximate result of NMPA’s wrongful conduct, music publishers

ceased negotiations with Peloton. Peloton has experienced injuries to its business and investments

as a consequence thereof.

               NMPA has acted willfully, maliciously, oppressively, with full knowledge of the

adverse effects of its actions on Peloton, with willful and deliberate disregard of the consequences

to Peloton, and with specific intent. Accordingly, Peloton seeks exemplary and punitive damages

pursuant to New York law.

               Peloton is entitled to recover from NMPA the cost of suit, including its reasonable

attorneys’ fees, pursuant to New York law because NMPA has acted in bad faith, has been

stubbornly litigious and/or has caused Peloton unnecessary trouble and expense.

               Peloton will suffer irreparable injury and loss of its business and property, for which

there is no adequate remedy at law, unless the Court permanently enjoins NMPA from its tortious

conduct. Peloton is thus entitled to injunctive relief against NMPA.

                                           Relief Sought

       WHEREFORE Peloton respectfully requests that the Court enter judgment and grant relief

as follows:

               Adjudge Counterclaim Defendants to have violated and to be in continuing

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.




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               Adjudge NMPA to have tortiously interfered with Peloton’s prospective business

relations in continuing violation of the common law of the State of New York.

               Enter judgment for Peloton for three times the amount of damages sustained by

Peloton due to Counterclaim Defendants’ violations of the federal antitrust laws, together with the

expenses of litigation and cost of this action, including its reasonable attorneys’ fees, and such

other relief as appropriate.

               Enter judgment for Peloton against NMPA for actual and punitive damages

attributable to its intentional and tortious misconduct.

               Grant Peloton pre- and post-judgment interest under Section 4(a) of the Clayton

Act, 15 U.S.C. § 15(a).

               Pursuant to Federal Rule of Civil Procedure 65, enjoin Counterclaim Defendants

from engaging in further anticompetitive and unlawful conduct, including without limitation by:

(i) enjoining Counterclaim Defendants from collectively negotiating with music users; and

(ii) enjoining NMPA from otherwise interfering in music publishers’ negotiations with Peloton

and other music users.

               Grant such other equitable relief, including disgorgement of all unlawfully obtained

profits that the Court finds just and proper to address and to prevent recurrence of Counterclaim

Defendants’ unlawful conduct.




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Dated: October 11, 2019
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